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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


COXCOM, LLC,

                 Plaintiff,

     v.                                   Case No. 1:21-cv-11124-DJC

SUPER TOWERS, INC., ET AL.,

                 Defendants.



REPLY BRIEF IN SUPPORT OF DEFENDANTS SUPER TOWERS, INC. AND WNAC,
           LLC’S MOTION TO DISMISS VERIFIED COMPLAINT
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         Defendants Super Towers, Inc. (“Super Towers”) and WNAC, LLC (“WNAC, LLC,” and

collectively, “Defendants”) respectfully submit this Reply Brief in further support of their Motion

to Dismiss the Verified Complaint (the “Complaint”) filed by Plaintiff COXCOM, LLC, d/b/a Cox

Communications (“Cox” or “Plaintiff”). 1

                                 PRELIMINARY STATEMENT

         Plaintiff’s opposition brief confirms that the Complaint must be dismissed because Plaintiff

failed to name Mission Broadcasting, Inc., a non-diverse, necessary and indispensable party, as a

defendant in this action. Plaintiff has no legitimate response. Instead, it seeks to distract the court

by (1) arguing that complete relief can be accorded in Mission Broadcasting’s absence

(notwithstanding that such relief would infringe upon Mission Broadcasting’s contractual rights

vis-à-vis Plaintiff), (2) introducing irrelevant extrinsic evidence while still arguing that the case

can be decided based on the pleadings and as a matter of law, and (3) attempting to shift blame to

Mission Broadcasting by asserting that it failed to intervene. But none of this changes the fact that

Mission Broadcasting is a necessary and indispensable party because if the Court were to grant

Plaintiff’s requested relief, Plaintiff would have a declaratory judgment order stating that the

WNAC Retransmission Agreement controls the relationship between Mission Broadcasting and

Plaintiff without Mission Broadcasting even having been heard on the position that the Mission

Retransmission Agreement, in fact, controls the current relationship between Mission and Plaintiff.

         Just as hopeless is Plaintiff’s argument that this Court could have jurisdiction over Mission

Broadcasting. Conceding there is no diversity between Plaintiff and Mission Broadcasting,

Plaintiff posits that this Court has federal question jurisdiction, which would not be destroyed by



1
    Capitalized terms used but not defined herein have the meaning ascribed to them in Defendants’
    Memorandum of Law in Support of Their Motion to Dismiss the Complaint. Dkt. 40.



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the addition of Mission Broadcasting. Not true. Plaintiff’s federal question theory is a dead-end.

Plaintiff asserts that there is federal question jurisdiction because it claims it could be subject to a

copyright infringement claim under the Copyright Act and it therefore seeks a declaration that it

is not violating the Copyright Act. But Mission Broadcasting owns WNAC, not Defendants. So

there is no risk that Defendants could assert copyright infringement claims against Plaintiff; only

Mission Broadcasting can do so. The Court cannot exercise federal question jurisdiction when

there is not a valid claim implicating such jurisdiction. And Plaintiff’s assertion that the Court can

exercise supplemental jurisdiction without with destroying diversity is flat out incorrect. This

Court simply cannot exercise jurisdiction over Mission Broadcasting in this action.

         Because proceeding with this action without non-diverse Mission Broadcasting would be

prejudicial to Mission Broadcasting and Plaintiff has an adequate alternative forum in state court,

this action should be dismissed.

                                            ARGUMENT

I.       MISSION BROADCASTING IS A NECESSARY PARTY UNDER RULE 19(A)

         As explained in Defendants’ opening brief, a party need only “meet one of the three criteria

in Rule 19(a) to show necessity.” Picciotto v. Contl. Cas. Co., 512 F.3d 9, 16, n. 11 (1st Cir

2008); Z & B Enterprises, Inc. v. Tastee–Freez Int'l, Inc., 162 Fed. Appx. 16, 20 (1st Cir. 2006),

and as detailed more fully below, Defendants have sufficiently demonstrated that Mission is a

necessary party pursuant to Rule 19(a)(1)(B)(i).

         If the Court were to grant Plaintiff’s requested relief, Mission Broadcasting would face a

risk of being bound by a Court order setting aside its contractual rights without ever being heard

on the matter. Dkt. 40 at 8. And even if Mission Broadcasting was not formally bound by the

outcome and brought a separate action, an adverse ruling could “be a persuasive precedent in a

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subsequent proceeding, and would weaken [its] bargaining position for settlement purposes.”

Acton Co. v. Bachman Foods, Inc., 668 F. 2d 76, 78 (1st Cir. 1982). See also Gonzalez v. Cruz,

926 F.2d 1, 6 (1st Cir.1991) (holding that although a ruling against the absent party would not be

binding in the state court, it “could, as a practical matter, impair [the absent party’s] probability of

success in a future proceeding and reduce its ability to reach a favorable settlement”). Granting

Plaintiff’s requested relief would potentially deprive Mission Broadcast of the benefit of its own

contract with Plaintiff through February 2023. Further, since neither Super Towers nor WNAC

are parties to the Mission Retransmission Agreement, they cannot adequately represent Mission

Broadcasting’s rights. Dkt. 40 at 8. Plaintiff’s arguments to the contrary fail.

         Plaintiff argues that Mission Broadcasting is not a necessary party because the dispute is

about whether Defendants violated their obligations. Yet, Plaintiff’s first requested relief is for an

“order declaring that (a) Defendants were required to have Mission assume and agree to the

WNAC Retransmission Agreement” and “(b) the terms of the WNAC Retransmission Agreement

remain in full force and effect until 11:59 p.m. Eastern Standard Time on February 23, 2023, or

until further order of this Court .…” (Compl. at 17.) Cox’s requested relief fully impacts Mission

Broadcasting.2 Therefore, Mission Broadcasting is a necessary party.

         1.      Complete Relief Cannot Be Accorded without Mission Broadcasting.

         Plaintiffs improperly claims that complete relief can be accorded without Mission

Broadcasting being a party to the case. Dkt. 42 at 5-13. Plaintiff is wrong; Mission Broadcasting


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    Cox also alleges “on or around December 18, 2020, Super Towers and WNAC stated to Cox that
    WNAC-TV will comprise an ‘after-acquired’ station under the retransmission agreement in place
    between Mission and Cox, instead of Mission assuming the WNAC Retransmission Agreement”
    (Compl. ¶ 34), and on “or around December 29, 2020, Cox notified Super Towers and WNAC that they
    would breach the WNAC Retransmission Agreement by failing to require Mission to assume and agree
    to the WNAC Retransmission Agreement” (Compl. ¶ 35). These allegations form the core of Cox’s
    claim.

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is inextricably impacted by the outcome of this action. Indeed, if the Court were to grant Plaintiff’s

requested relief, Mission Broadcasting would be significantly hampered in seeking to enforce its

contractual rights against Cox. Dkt. 40 at 8-9. See Acton Co. v. Bachman Foods, Inc., 668 F. 2d 76,

78 (1st Cir. 1982); Gonzalez v. Cruz, 926 F.2d 1, 6 (1st Cir.1991). Moreover, Defendants no longer

even own the station at issue. As explained in Defendants opening brief, the real crux of the issue

is determining which contract applies; and that inquiry must include the station’s current owner,

Mission Broadcasting. Dkt. 40 at 7. Relief between the existing parties does not answer that

question. Id.

         Plaintiff insists that the only document needed to resolve the dispute is the WNAC

Retransmission Agreement, while simultaneously introducing a deluge of extrinsic evidence

regarding industry custom, negotiation history, and its interpretation of the Mission

Retransmission Agreement.        Cox’s opposition brief supports the position that this is not a

straightforward breach of contract case. Rather, this case involves the interpretation of two

contracts, including one between Mission Broadcasting and Cox. Plaintiff’s attempt to avoid its

obligations by racing to get a judgment without affording Mission Broadcasting the opportunity to

protect its bargained for rights should not be countenanced. Dkt. 40 at 7; Acton, 668 F.2d, 78;

Downing v. Globe Direct LLC, 806 F. Supp. 2d 461, 467 (D. Mass 2011).

         2.      Mission Broadcasting’s Rights Will Be Significantly Impeded.

         Plaintiff asserts that Mission Broadcasting is not a necessary party because its absence from

this action will not impair its ability to protect its interests. Dkt 42 at 13-15. As explained in the

Opening Brief, under this subsection, a party is necessary if it has an interest relating to the subject

of the action and is so situated that disposing of the action in the party’s interest may “as a practical

matter impair or impede the [party’s] ability to protect the interest.” Rule 19(a)(1)(B)(i). Dkt. 40

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at 6. That is exactly the case here. 3 As explained above, the very first item in Plaintiff’s prayer

for relief is a request for declaratory judgment ordering that the terms of the WNAC

Retransmission Agreement is deemed valid and controlling.

         Downing is instructive on this point. There, Plaintiff brought a class action suit seeking

injunctive relief against Globe Direct LLC for violations of the Drivers Privacy Protection Act

(“DPPA”). Defendant had a contract with the Massachusetts RMV to mail registration renewal

notices to motor vehicle owners.         Downing, 806 F. Supp. at 463-464.            The contract with

Massachusetts RMV permitted the defendant to include advertisements with the registration

renewal mailings. Id. Plaintiff alleged that including advertisements in those mailings violated

the DPPA and sought to end that practice. Id. The court found that the Massachusetts RMV was

an indispensable party because plaintiff’s requested relief would effectively “automatically

terminate Massachusetts’s contract.” Id. at 467.

         The same is true here. Even if Mission Broadcasting was not formally bound by the

outcome, “an adverse ruling would be a persuasive precedent in a subsequent proceeding, and

would weaken [its] bargaining position for settlement purposes.” Acton Co. v. Bachman Foods,

Inc., 668 F. 2d 76, 78 (1st Cir. 1982); Gonzalez v. Cruz, 926 F.2d 1, 6 (1st Cir.1991); Latin Uno,

Inc. v. Univision Communications, Inc., 2019 WL 469843 at *6 (D. P.R. 2019) (finding that a



3
    See Puerto Rico Medical Emergency Group, Inc. v. Iglesia Episcopal Puertorriqueña, Inc., 321 F.R.D.
    475, 480 (D. P. R. 2017) (finding that a third party was indispensable pursuant to Rule 19(a)(1)(B)(i)
    where a court order regarding how disputed contracts are to be performed or enforced could potentially
    prejudice third party in future litigation.); Cruz-Gascot v. HIMA-San Pablo Hosp. Bayamon, 728 F.
    Supp.2d 14, 28 (D. P.R.2010) (finding that other co-heirs were indispensable parties to a wrongful
    death action because any determination made by the court would affect the non-party heirs’ interests.);
    Downing v. Globe Direct LLC, 806 F. Supp. 2d 461, 467 (D. Mass 2011) (finding that Massachusetts
    Registry of Motor Vehicles (“RMV”) had an interest in class action dispute where Plaintiffs sought
    injunctive relief barring Defendant from performing certain obligations under its contract with the
    Massachusetts RMV.)

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potential adverse ruling could impair third party’s success in a future proceeding or negatively

impact settlement prospects.).

         Plaintiff claims that a party is not necessary because their rights or obligations may be

affected by the result, citing Ferrofluidics Corp. v. Advanced Vacuum Components, Inc., 968 F.2d

1463, 1472 (1st Cir. 1992). That reliance is misplaced. Ferrofluidics involved a dispute between

a manufacturer and a former employee, who was subject to a non-compete agreement, who

attempted to circumvent the agreement and launch a competitor company with a third party.

Ferrofluidics, 968 F.2d at 1472. The third party’s interest in the case was limited to a financial

interest in the competitor because in the event that the non-compete agreement against the former

employee was enforced, then the putative competitor would not be able to employ the former

employee and the competitor would not be as valuable. Id. The third party investor did not have

any contractual privity with the plaintiff, nor did the third party investor even have a direct

investment in the defendant-former employee.

         Here, however, Mission Broadcasting has an extant contractual relationship with Cox, and

is alleged to have been required to have accepted assignment of the contract at issue. In fact, it is

difficult to imagine a party that would have a more direct interest in the outcome of this litigation

than Mission Broadcasting.

         As with Ferrofluidics, Plaintiff’s reliance The Aulson Co. v. Boston Ship Repair LLC, No.

13-cv-10268, Dkt. 24, slip op. 1 (D. Mass. Dec. 26, 2013) is misplaced. There, defendant Boston

Ship Repair LLC (“BSR”) was retained by third party Ocean Ships Inc. (“OSI”) to perform work

on a military cargo ship. BSR subcontracted certain of that work to plaintiff Aulson for assistance

with an aspect of the repair, and incorporated specifications from the BSR-OSI contract into the

BSR-Aulson contract. Aulson filed a suit for breach of contract against BSR for failure to pay for

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the work, and BSR filed its own breach claim against Aulson for failure complete the work on

time. BSR moved to dismiss on the grounds that the Aulson lawsuit should be dismissed for failure

to join allegedly indispensable OSI. The court denied the motion, explaining that OSI was not an

indispensable party because even if OSI’s rights were tangentially affected by the outcome of the

action between Aulson and BSR, OSI was not a party to any contract with Aulson and OSI would

still have unimpeded contractual rights that it could assert against BSR.

         In the instant case, Plaintiff’s requested relief leaves little room for Mission Broadcasting

to pursue its own contractual rights. If the Court were to issue a declaratory judgment order that

the terms of the WNAC Retransmission Agreement control the rebroadcasting of WNAC (which

Mission Broadcasting now owns) by Cox, then the terms of the Mission Retransmission

Agreement would not also be able to control. Dkt. 40 at 8-9. See also Acton, 668 F.2d, 78;

Downing, 806 F. Supp. 2d, 467.4

         Plaintiff also argues that Defendants are “confusing ‘inconsistent obligations with

inconsistent adjudications.’” Dkt. 42 at 15. Not so. As Plaintiff itself acknowledges, Mission

Broadcasting’s liability is not at issue. Dkt. 42 at 15. The issue is Plaintiff’s requested relief.

Plaintiff’s repeated insistence that it cannot understand how a determination in this case will affect


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    Plaintiff’s reliance on Phio Pharms. Corp. v. Khvorova, 2019 WL 2393792 (D. Mass. June 6, 2019)
    (Casper, J.) is equally misplaced. In Phio Pharms., an employer sought declaratory relief to enjoin a
    former employee from using confidential documents and trade secret information in her new research
    position at a new employer, the University of Massachusetts medical school (“UMass”). Phio Pharms.,
    2019 WL 2393792, at *2-3. The former employee argued that UMass was a necessary and
    indispensable party because the requested relief could potentially impede UMass’s ownership interest
    in a patent. Id. at *4. The Court found that UMass was not a necessary and indispensable party because
    the plaintiff’s requested relief concerned only the former employee’s use of confidential information
    and trade secrets, not any determination as to the ownership rights of the patent or the development of
    the patent. Id. Accordingly, the requested relief would not determine UMass’s potential ownership
    interest or rights. Here, Plaintiff’s requested declaratory relief squarely implicates Mission
    Broadcasting’s agreed-upon contract with Plaintiff. Dkt. 40 at 7-9. See also Downing, 806 F. Supp. 2d,
    467.

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Mission Broadcasting’s separate interests in nonsensical. Dkt. 40 at 8; see also Downing 806 F.

Supp. 2d at 467 (finding that injunctive relief sought would automatically terminate third party’s

contract.)

          Mission Broadcasting is a necessary party under Rule 19(a)(1)(B)(i). But by failing to

name Mission Broadcasting as a party to this lawsuit, Cox is seeking to evade its responsibilities

under the Mission Retransmission Agreement and deprive Mission Broadcasting of the ability to

enforce the bargained-for terms of its agreement with Cox. Plaintiffs’ requested relief has the

potential to completely redefine the terms of Mission and Cox’s contract regarding WNAC. This

is more than a passing financial interest in a dispute between two separate parties. Mission is a

necessary party.

         3.      Mission Broadcasting Has No Obligation to Intervene, and Failure to
                 Intervene Does Not Forfeit an Interest.

         Plaintiffs make much of the fact that Mission Broadcasting has not chosen to intervene in

the present case. Dkt. 42 at 16. Mission Broadcasting would not be able to intervene in this case.

The Court does not have federal question jurisdiction because Plaintiff is seeking declaratory relief

against the wrong party. See infra Section II. Since jurisdiction is based solely on § 1332, the

Court cannot exercise supplemental jurisdiction under § 1367(b). Id.

         In addition, Mission has no obligation to intervene. See Tell v. Trustees of Dartmouth

College, 145 F.3d 417, 419 (1st Cir. 1998). That Mission Broadcasting has not chosen to intervene

at this point does not invalidate a clear interest relating to the outcome of the present case. Id.

(“[A]ppellants say that the Alumni Association has been silent and therefore cannot be a person

who “claims an interest relating to the subject of the action and is so situated that the disposition

of the action in the person's absence” may have the prejudicial effect described in Rule 19(a). But

“claims an interest” in this context means nothing more than appears to have such an interest.”).
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Indeed, the First Circuit further clarified that “[i]n all likelihood, the word ‘claims’ was used by

the drafters not to suggest that a necessary party had to come forward—such ‘parties’ are

commonly not heard from at all—but to debar any inference that the necessary party had to have

a proven interest as opposed to a colorable claim to one.” Id. at 419 n.2.

II.      MISSION BROADCASTING CANNOT BE JOINED

         Plaintiff contends that the Court has jurisdiction over Mission Broadcasting under both

diversity (notwithstanding Plaintiff’s own concession it is not diverse to Mission) and federal

question. Dkt. 42 at 17. Neither theory holds water.

         First, Plaintiff’s federal question jurisdiction theory is grounded in Plaintiff’s concern that

it could be subject to a copyright infringement claim under the Copyright Act. Dkt. 42 at 17. That

is plainly insufficient to create federal question jurisdiction.

         Neither Defendants nor Mission have filed or even threatened to file a suit against Plaintiff

for a copyright infringement claim. See, Exhibit 1, 08-18-2021 Letter from M. Solum. Moreover,

Defendants are not even eligible to file a copyright claim as they do not own the station. Given

this, there is no basis for a declaratory judgment that Plaintiff is not violating the copyright laws.

See 28 U.S.C. § 2201 (the Declaratory Judgment Act requires that there be a live case or

controversy.); MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007) (quoting Md. Cas.

Co. v. Pac. Coal & Oil. Co, 312 U.S. 270, 273 (1941) (“Basically, the question in each case is

whether the facts alleged, under all the circumstances, show that there is a substantial controversy,

between parties having adverse legal interests, of such immediacy and reality to warrant issuance

of a declaratory judgment.”)

         Micro Focus (US), Inc. v. Genesys Software Systems, Inc., 2015 WL 4480358 (D. Mass.

2015) is instructive on this point. In Micro Focus, plaintiff Micro Focus brought claims against

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defendant Genesys alleging breach of contract. Micro Focus, 2015 WL 4480358 at *1. Genesys

filed a counterclaim seeking declaratory judgment that it had not infringed any copyright or patent

owned by Micro Focus. Id. The court found that there was no actual case or controversy because

there was no evidence that Micro Focus “raised, or even threatened to raise, a patent or copyright

infringement claim” and because Micro Focus “maintain[ed] that it purposefully ‘styled the

controversy’ as a breach of contract rather than a copyright claim.” Id. at 2-3. Compare Applera

Corp. v. Michigan Diagnostics, LLC, 594 F. Supp.2d 150, 158-160 (D. Ma 2009) (dismissing

counterclaim for declaration of non-infringement of 55 patents for lack of subject matter

jurisdiction and finding that communications between the parties suggesting a review of [Michigan

Diagnostics]’s entire patent portfolio without either party making particularized suggestions of

potential infringement did not establish an actual case or controversy with respect to such potential

federal claims), with New England Gen-Connect, LLC v. US Carburetion, Inc., 2015 WL

13229183, at *2 (D. Mass. 2015) (finding that a letter in which defendant explicitly accusing

Plaintiff of patent infringement and asserting that they “actively and aggressively enforce its

valuable patent rights” was enough to establish an actual controversy). Neither Defendants nor

Mission Broadcasting have raised, or even threatened to raise a copyright infringement claim

against Plaintiff. Plaintiff’s conjecture as to what claims Defendants and/or Mission Broadcasting

might hypothetically pursue is not enough to establish subject matter jurisdiction pursuant to the

Declaratory Judgment Act.

         Second, Plaintiff’s contention that Mission Broadcasting can be joined without destroying

diversity jurisdiction is incorrect. Under § 1367(b), a district court cannot exercise supplemental

jurisdiction over “claims made by persons proposed to be joined as plaintiffs under Rule 19 of [the

Federal Rules of Civil Procedure] or seeking to intervene as plaintiffs under Rule 24 of such rules,

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when exercising supplemental jurisdiction over such claims would be inconsistent with the

jurisdictional requirements of § 1332.” See U.S.C. § 1367.5

III.       UNDER RULE 19(B), THE COURT SHOULD DISMISS THE COMPLAINT
           INSTEAD OF ALLOWING IT TO PROCEED IN MISSION BROADCASTING’S
           ABSENCE.

           Plaintiff argues that even if Mission Broadcasting is a necessary party that cannot be joined,

it is not in indispensable party because the Rule 19(b) factors do not support dismissal. Dkt. 42 at

18. Not so. As explained in the Opening Brief, each factor favors dismissal. Dkt. 40 at 10.

           Plaintiff first asserts that Mission’s absence would not prejudice anyone because this is a

dispute between Cox, Super Towers, and WNAC, LLC. Dkt. 42 at 18. This defies logic.

Plaintiff’s request for declaratory judgment directly impacts Mission’s rights. Dkt. 40 at 7-9;

Section I and I(2), supra; Downing, 806 F. Supp. 2d at 467.

           Plaintiff further suggests that Super Towers or WNAC can adequately represent Mission

Broadcasting’s interest because Mission Broadcasting is indemnifying Defendants, and the parties

share the same counsel. Dkt. 42 at 16. Being aligned with the parties in the case—even if closely—

is not the same as being in the case. Neither Defendant is a party to the Mission Retransmission

Agreement, nor does either Defendant have the authority to argue for or enforce the terms of the

Mission Retransmission Agreement. This dispute is between Mission Broadcasting and Cox.

Mission Broadcasting should be a party. See Tell v. Trustees of Dartmouth College, 145 F.3d 417,

419 (1st Cir. 1998) (affirming dismissal under Rule 19 and observing that “without a perfect



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       See also Liberty Mut. Group v. Hillman’s Sheet Metal and Certified Welding, Inc., 168 F.R.D. 90, 92-
       93 (D. Maine 1996) (finding that the court was precluded from exercising supplemental jurisdiction
       over claims of a nondiverse plaintiff-intervenor where jurisdiction was based solely on § 1332.);
       American Honda Motor Co., Inc. v. Clair Intern., Inc., 1999 WL 414323 at *2 (D. Mass Apr. 16, 1999)
       (finding no supplemental jurisdiction over nondiverse third party intervenor where jurisdiction was
       based solely on § 1332.)

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identity of interests, a court must be very cautious in concluding that a litigant will serve as a proxy

for an absent party ... [A]n obvious potential exists for conflict.”) (emphasis added).

         Plaintiff also fails to establish that any prejudice to Mission Broadcasting “could be

lessened or avoided by shaping the relief.” Dkt. 42 at 19. Plaintiffs’ sought judgment in the

absence of Mission Broadcasting fully steps on Mission Broadcasting’s rights. Dkt. 40 at 10;

Picciotto, 512 F.3d at 18 (dismissing action for failure to join indispensable party where it would

be “difficult if not impossible to shape relief that would not implicate” indispensable party’s

interests); see also Phoenix Ins. Co. v. Delangis, No. CIV.A. 14-10689-GAO, 2015 WL 1137819

(D. Mass. Mar. 13, 2015). Plaintiff’s argument that the Court could grant the requested relief

“without ordering Mission to do anything” provides no comfort. Dkt. 42 at 19. The issue is not

that Mission will be ordered to do anything. Rather, the issue is that the requested relief would

allow Plaintiff to not do something, which is abide by the terms of the Mission Retransmission

Agreement. See Picciotto, 512 F.3d at 18. That harm cannot be ameliorated.

         Finally, Plaintiff claims that if the case is dismissed, it will be without adequate remedy.

Dkt. 42 at 19-20. Nonsense. Plaintiff, notwithstanding its protests to the contrary, has an adequate

remedy; it can refile its complaint with Mission Broadcasting as a defendant in a court with

jurisdiction (notwithstanding that its allegations are hopelessly flawed). Picciotto, 512 F.3d at 18

(ability to file in state court is an adequate remedy); Phoenix Ins., 2015 WL 1137819, at *7;

Plymouth Yongle Tape (Shanghai) Co., Ltd. v. Plymouth Rubber Co., LLC, 683 F. Supp. 2d 102,

117 (D. Mass. 2009) (finding that where third party was indispensable and would destroy diversity

jurisdiction, Plaintiff could bring claims in state court or through arbitration).




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                                          CONCLUSION

         For the foregoing reasons, Defendants request that the Court grant Defendant’s motion to

dismiss.



                                                       Respectfully submitted,

                                                       SUPER TOWERS, INC. AND WNAC,
                                                       LLC,

                                                       By their attorneys,

                                                       /s/ Andrew R. Dennington
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Dated: October 6, 2021

                                  CERTIFICATE OF SERVICE

         I, Andrew R. Dennington, hereby certify that this document filed through the ECF system

will be sent electronically to registered participants as identified on the Notice of Electronic Filing

and paper copies will be sent to those indicated as non-registered participants on October 6, 2021.

                                                       /s/ Andrew R. Dennington
                                                       Andrew R. Dennington, BBO #666892
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                       EXHIBIT 1
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                                                                     August 18, 2021


          Brian O’Connor Watson
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          bwatson@rshc-law.com

                               Re: Notice of Breach

         Dear Mr. Watson:

                 As you know, Mission Broadcasting, Inc. (“Mission”) acquired television station WNAC
         (“WNAC”) from WNAC, LLC on June 16, 2021. Pursuant to Section 19(b) of the Mission
         Retransmission Consent Agreement between Mission and CoxCom, LLC d/b/a Cox
         Communications (“Cox”), dated December 28, 2018 (the “Agreement”), the Agreement controls
         the retransmission of WNAC’s broadcast signal to Cox’s subscribers in the Providence and New
         Bedford area.

                 Nevertheless, on July 7, 2021, Cox filed a lawsuit (the “Lawsuit”) against Super Towers,
         Inc. (“Super Towers”) and WNAC, LLC (collectively, “Defendants”) alleging that a separate
         retransmission agreement among Cox, WNAC and Super Towers (the “WNAC Retransmission
         Agreement”) somehow governs the retransmission of that broadcast signal. The Lawsuit does not
         even mention the Agreement.

                Cox is continuing to prosecute the Lawsuit and, on August 13, 2021, has ostensibly paid
         Mission for the retransmission of WNAC’s broadcast signal to Cox’s subscribers in the Providence
         and New Bedford area pursuant to the WNAC Retransmission Agreement.

                 Cox’s filing and prosecution of the lawsuit and its August 13, 2021 payment are in breach
         of the Agreement.

                    Cox must remedy these breaches within thirty (30) days.




Austin   Bay Area   Beijing   Boston   Brussels   Chicago   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   Paris   Shanghai   Washington, D.C.
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      Mission reserves all rights.

                                         Regards,




                                         Matthew Solum, P.C.
